
245 S.W.3d 917 (2008)
In re MARRIAGE OF Mark E. HETHCOTE and Denise K. HETHCOTE.
Mark E. Hethcote, Petitioner/Respondent,
v.
Denise Otto f/k/a Hethcote, Respondent/Appellant.
No. ED 89739.
Missouri Court of Appeals, Eastern District, Division One.
February 19, 2008.
Howard A. Wittner, David von Gontard, Matthew Kallial, Wittner, Spewak, Maylack &amp; Spooner, P.C., St. Louis, MO, for respondent.
Jody H. Wolff, St. Louis, MO, for appellant.
Before KATHIANNE KNAUP CRANE, P.J., ROBERT G. DOWD, JR., J., and KENNETH M. ROMINES, J.

ORDER
PER CURIAM.
Former wife appeals from a judgment of the trial court modifying maintenance. The trial court's judgment is supported by substantial evidence and is not against the weight of the evidence. No error of law appears. Murphy v. Carron, 536 S.W.2d 30, 32 (Mo. banc 1976). An opinion reciting the detailed facts and restating the principles of law would have no precedential value. However, the parties have been furnished with a memorandum opinion *918 for their information only setting forth the facts and reasons for this order.
The judgment is affirmed in accordance with Rule 84.16(b).
